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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                   Filed: July 11, 2022

*************************
LARRY WOLFORD,             *                        PUBLISHED
                           *
               Petitioner, *                        No. 17-451V
                           *
v.                         *                        Special Master Nora Beth Dorsey
                           *
SECRETARY OF HEALTH        *                        Damages Decision; Influenza (“Flu”)
AND HUMAN SERVICES,        *                        Vaccine; Shoulder Injury Related to Vaccine
                           *                        Administration (“SIRVA”).
               Respondent. *
                           *
*************************

Isaiah Richard Kalinowski, Bosson Legal Group, Fairfax, VA, for petitioner.
Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for respondent.

                                   DAMAGES DECISION 1

        On March 29, 2017, Larry Wolford (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program (“Vaccine Act” or “the Program”), 42
U.S.C. § 300aa-10 et seq. (2012).2 Petitioner alleges that he suffered a right shoulder injury
related to vaccine administration (“SIRVA”) as the result of an influenza (“flu”) vaccination
administered on November 11, 2015. Petition at 1-3 (ECF No. 1). On July 9, 2021, the
undersigned issued a ruling on entitlement, finding that petitioner was entitled to compensation.
Ruling on Entitlement dated July 9, 2021 (ECF No. 80).


1Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.

2The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2012). All citations in this Decision to individual sections of the
Vaccine Act are to 42 U.S.C. § 300aa.
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       The parties were unable to resolve damages and requested that the Court enter a schedule
for damages briefs. Since then, the parties’ briefs have been filed.

       After consideration of all of the evidence, and for the reasons described below, the
undersigned finds that petitioner is entitled to $70,000.00 for actual pain and suffering, and
$1,971.85 3 for out-of-pocket medical expenses, for a total award of $71,971.85.

I.     PROCEDURAL HISTORY

        Petitioner filed his petition on March 29, 2017, alleging that he sustained a right shoulder
injury caused by a flu vaccine administered on November 11, 2015. Petition at 1-3. The early
procedural history from March 2017 through July 2021 was set forth in the undersigned’s Fact
Ruling and Ruling on Entitlement and will not be repeated here. See Fact Ruling dated July 8,
2019, at 2-3 (ECF No. 56); Ruling on Entitlement at 2.

        Thereafter, the parties engaged in settlement discussions but were not able to resolve this
matter informally. Petitioner’s (“Pet.”) Status Report (Rept.”), filed Feb. 8, 2022 (ECF No. 98).
The parties agreed to submit the issue of pain and suffering to the Court’s resolution by briefing.
Joint Status Rept., filed Feb. 16, 2022 (ECF No. 100).

        On March 4, 2022, petitioner filed a memorandum of law regarding damages. Pet.
Opening Memorandum of Law Regarding Damages (“Pet. Mem.”), filed Mar. 4, 2022 (ECF No.
103). Respondent filed his response on May 2, 2022. Respondent’s Brief on Damages (“Resp.
Br.”), filed May 2, 2022 (ECF No. 105). Petitioner filed a reply on May 9, 2022. Pet. Reply
Memorandum of Law Regarding Damages (“Pet. Reply Mem.”), filed May 9, 2022 (ECF No.
106).

       This matter is now ripe for adjudication.

II.    FACTUAL HISTORY 4

       A.      Pre-Vaccination Medical History

        Petitioner’s pre-vaccination medical history is significant for non-insulin dependent
diabetes mellitus, diabetic neuropathy, weakness, fatigue, numbness in hands and legs, backache,
multiple joint pains, gastroesophageal reflux disease, depression, and osteoarthritis. Pet. Ex. 4 at
4-5, 7, 16, 26, 28. No records indicate that petitioner had right shoulder pain prior to
vaccination.



3The parties agreed on the total out-of-pocket expenses in the amount of $1,971.85.
Respondent’s Brief on Damages (“Resp. Br.”), filed May 2, 2022, at 2, 2 n.1 (ECF No. 105).

4In the interest of efficiency, this summary is taken from relevant portions of the undersigned’s
Ruling on Entitlement. See Ruling on Entitlement at 2-8.


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       B.      Post-Vaccination Medical History

        The Fact Ruling set forth a summary of petitioner’s medical records, affidavits, and
hearing testimony relative to onset of his right shoulder injury. See Fact Ruling at 3-8. Only the
relevant portions will be repeated here. In the Fact Ruling, the undersigned found the onset of
petitioner’s right shoulder injury was within 48 hours of vaccination. Id. at 13.

        On November 11, 2015, at fifty-three years old, petitioner was seen by his primary care
physician, Dr. Dinkar Patel. Pet. Ex. 4 at 34. Current medications included Ultram, Cymbalta,
and Neurontin. Id. at 34-35. Chief complaints were diabetes mellitus and hypercholesterolemia.
Id. at 34. Petitioner also complained of backache and itching and rash on his right arm. Id. He
came for a check up on his blood sugar and wanted a flu vaccine. Id. Physical examination by
Dr. Patel revealed tenderness in lower back, dermatitis on right arm, and normal range of motion.
Id. At this visit, Ms. Lynette Gibson administered a flu vaccine in petitioner’s right deltoid. Pet.
Ex. 10 at 1. Dr. Patel documented, “Flu Vaccine given. No reaction noted.” Pet. Ex. 4 at 35.

        At the fact hearing, petitioner testified that when the vaccine was administered, the nurse
“said she felt it tighten up on [him].” Transcript (“Tr.”) 17. He explained that “when she pulled
the needle out, she said it tightened up on her . . . she felt it jerk, the muscle tightened up and
everything.” Tr. 109-10. Ms. Wolford testified that “when [the nurse] gave [petitioner] his shot
she just kind of—I guess laughed a little bit and said he’d probably get sore because [she] felt it
jerk.” Tr. 157-58, 199. Ms. Wolford testified that she was present during the entire visit with
Dr. Patel on November 11, 2015 when petitioner received his flu shot and that she also received
a flu shot during this visit. Tr. 157.

        Petitioner testified that he began experiencing aching and stiffness the evening of the
vaccination. Tr. 19. His shoulder pain disturbed his sleep and woke him up at night beginning
the first night following the vaccination. Tr. 35. He had to start driving with one hand “[r]ight
after the vaccine.” Tr. 36. He explained that a day or two later he developed a stabbing pain.
Tr. 26.

        Ms. Wolford testified that after they got home, petitioner complained of his shoulder
being “sore, a dull, aching sore,” but they thought it was normal. Tr. 158. She testified that she
did not call Dr. Patel’s office that day about petitioner’s pain because the nurse “said it was
going to get sore, so he just thought it would be normal.” Tr. 201; see also Tr. 159. She
explained, however, the soreness did not go away but worsened. Tr. 158-59. The day after
vaccination, “[petitioner] just all of a sudden would be hollering, ouch, and grabbing to his arm.”
Tr. 159.

        Petitioner explained that he made a “sleeve,” or sling, out of a compression sock that,
when worn as a sleeve, warmed his arm and reduced his discomfort. Tr. 19-20, 26, 31-33. His
pain also got better with Tylenol, ibuprofen, and Icy Hot. Tr. 118-19. Ms. Wolford also testified
to these facts. Tr. 159.

      Ms. Wolford testified that as time went on in November and December 2015, petitioner
would “treat it for a while and then it would go away, and it’d like just come back . . . . [She]



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remember[ed] him propping it up on, like, a pillow to ease the pain.” Tr. 160. They also did this
with other items like quilts. Id. Ms. Wolford recalled seeing petitioner “trying to comb his hair,
and he couldn’t get his arm up over his head to comb his hair, like he was having trouble moving
his arm.” Tr. 161. She could not recall when she observed this but stated that it was before
April 2016 and possibly before February 2016. Tr. 161, 173-74.

         Ms. Wolford testified that she was not sure when she first called Dr. Patel’s office, but
believed it was sometime around mid-November or Thanksgiving. Tr. 162-63, 202. She
testified that she was told that Dr. Patel “was out of the country at that time” and that he would
be gone for a month. 5 Tr. 163, 205. Petitioner’s wife testified that petitioner did not see another
doctor in the practice because Dr. Patel had “been his doctor for years. He’s the only one he
sees” and they planned to “wait for him to come back.” Tr. 163-64. She testified that she did
not initially look for other doctors because petitioner was treating himself and the pain was
coming and going. Tr. 164.

        Ms. Wolford testified that eventually she started calling other doctors in the area that she
identified by going through a phone book. Tr. 164. She could not recall the names of the offices
she called but stated that there were “a few” and that “they couldn’t get him in because . . . they
wanted a referral or where it was the holidays and stuff, they wanted it two or three months down
the road.” Tr. 185. She contacted the office of chiropractor Dr. Jarrod Thacker and was told that
he could see petitioner. Tr. 165. She could not recall the interval between when she called Dr.
Thacker’s office and when petitioner was first seen by Dr. Thacker, but said that “it wasn’t that
long. Probably a couple of days . . . they got him in quick.” Id.

        Petitioner presented to chiropractor, Dr. Thacker, on February 16, 2016 with “severe
upper thoracic/right shoulder/arm/elbow thumb pain” that “started after receiving a flu shot in
November 2015.” Pet. Ex. 5 at 3. Petitioner noted onset as “acute, one week after flu shot was
administered.” 6 Id. Petitioner reported “pain daily 4/5 times a day [and] made worse with
certain movements. Pain ranges from 2-8/10 on a pain scale.” Id. Pain was described as “achy,
burning, dull, sharp, stiff, throbbing,” and moderate. Id. Petitioner further reported numbness in
right hand, severe spasms in right cervical paraspinal and right trapezius, right upper extremity
weakness, and decreased cervical motion. Id. He indicated he was only able to lift 25 pounds
and his sleep was affected. Id. On physical examination, Dr. Thacker wrote petitioner “presents
with severe [guarding] of the neck and right shoulder.” Id. Petitioner had decreased range of
motion. Id. Dr. Thacker treated petitioner to relieve pain, decrease inflammation, and to
improve function, strength, and range of motion. Id. at 4. Petitioner was given shoulder
exercises and stretches for impingement syndrome. Id.



5In a later record, Dr. Patel included a note stating, “[petitioner] states he came to see me in
Nov[ember] 2015, I [saw] him on 11-11-15 but he came again to see me and I was out of town
and he [saw] Jerry Thacker for right shoulder pain and received physical therapy.” Pet. Ex. 7 at
5; see also Pet. Ex. 9 at 5 (handwritten version of similar note).

6Petitioner testified that the notation stating the onset was one week after the flu shot is not
accurate. Tr. 49, 127-28, 206-07.


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        Petitioner returned to Dr. Thacker 27 times from February 18, 2016 to November 4,
2016. Pet. Ex. 5 at 6-56; Pet. Ex. 6 at 2-22, 24-32. During the February 24, 2016 visit, Dr.
Thacker wrote “[a] [magnetic resonance imaging (“MRI”)] consult was discussed with
[petitioner] because progression [was] not optimal. [Petitioner] would need to visit [primary care
physician (“PCP”)] (Dr. D Patel) to obtain order form [for] R shoulder MRI.” 7 Pet. Ex. 5 at 13.

        On February 29, 2016, petitioner returned to Dr. Patel’s office8 with a chief complaint of
diabetes mellitus and hypercholesterolemia. Pet. Ex. 4 at 36. Under review of systems,
petitioner complained of neck pain and numbness in right arm and reported seeing a
chiropractor. Id. Physical examination revealed tenderness in back of neck with painful neck
movements, no stiffness in neck, and normal range of motion. Id. Assessment included “neck
pain with probable degenerative disc disease c spine,” “cervical radicular syndrome right side,”
and osteoarthritis. Id. at 37. Petitioner was advised to have an MRI of his cervical spine done. 9
Id.

        An MRI of petitioner’s right shoulder was conducted on March 1, 2016. Pet. Ex. 3 at 2.
Diagnosis was listed as shoulder pain and soreness after flu shot. Id. The impression was
“[s]omewhat inferiorly projecting acromion process with mild increased signal intensity changes
in the subacromial bursa could represent impingement syndrome[10] or from bursitis.[11] Study
otherwise is negative for rotator cuff tear.” Id.



7   Dr. Thacker’s additional patient notes regarding petitioner’s shoulder MRI are as follows:

          4-7-16: Appointment with patient PCP was set up for 4-13-16 to obtain order for
          right shoulder MRI. Patient progress not showing expected results. Patient still
          suffering from severe pain when certain motions are sought (Mostly
          overhead/abduction/adduction to R shoulder).
          4/14/16: Patient had follow up visit with PCP to get a MRI on R shoulder.
          4/28/16: Patient was referred to orthopedist for consultation of cortisone injection
          into right shoulder. Injection was administered by Dr. Varney at PMC.

Pet. Ex. 5 at 2.

8   It is not clear from the record who petitioner saw during this visit.

9No records were provided indicating petitioner received a cervical spine MRI. Based on the
medical records, it appears petitioner received only a right shoulder MRI.

10Impingement syndrome results from “mechanical impingement by the acromion,
coracoacromial ligament, coracoid process, or acromioclavicular joint against the rotator cuff.”
Impingement Syndrome, Dorland’s Med. Dictionary Online, https://www.dorlandsonline.com/
dorland/definition?id=110796 (last visited July 6, 2022).

11Bursitis is “inflammation of a bursa.” Bursitis, Dorland’s Med. Dictionary Online,
https://www.dorlandsonline.com/dorland/definition?id=7315 (last visited July 6, 2022).


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       Dr. Thacker’s examinations in March and April 2016 “show[ed] minimal to no
improvement in [petitioner’s] subjective or objective complaints/findings.” Pet. Ex. 5 at 24, 48.
Dr. Thacker discussed a referral to an orthopedist for an injection. Id.

        Petitioner returned to Dr. Patel’s office 12 on April 11, 2016. Pet. Ex. 4 at 38. Petitioner
complained of “right shoulder pain with restricted shoulder movements” as well as multiple joint
pain. Id. Physical examination revealed right shoulder tenderness with marked restricted
movements and normal range of motion. Id. Assessment included “right shoulder pain etiology
to be determined.” Id. at 39. Under plan, the record indicates “[a]dvised mri of the right
shoulder and [petitioner] is being followed by Dr. [] Thacker.” Id. Petitioner was instructed to
continue physical therapy. Id.

       On April 18, 2016, petitioner saw orthopedist Dr. Jamie Varney at Pikeville Medical
Center complaining of right shoulder pain. Pet. Ex. 2 at 3, 7. Petitioner stated “the symptoms
have been chronic non-traumatic,” occur intermittently, and “began . . . after flu shot.” Id. at 3.
He described the pain as “piercing” and reported additional pain in his right thumb. Id. at 3, 12.
He indicated his “symptoms are aggravated by daily activities and reaching overhead,” but are
“relieved by physical therapy.” Id. At the time of the visit, petitioner reported his symptoms
were moderate and his pain was a 2/10. Id. at 3, 11. In a handwritten orthopedic information
sheet completed on April 18, 2016, 13 petitioner related his injury back to the flu vaccine received
on November 11, 2015 and listed his reason for visit as “pain in right shoulder [and] numbness in
thumb.” Id. at 11. For when his symptoms started, he wrote “same night got sore.” Id. He also
described the pain as stabbing and noted it “randomly” goes from 2/10 to 8/10. Id.

        Physical examination revealed positive signs on Hawkins and Neer’s tests and the cross
body test for shoulder joint pathology. Pet. Ex. 2 at 5. Range of motion in petitioner’s left
shoulder was normal, but there was “pain in impingement arc” noted with regard to petitioner’s
right shoulder. Id. at 6. Elbow and wrist range of motion in both extremities was normal. Id.
Upper extremity strength was normal except for “mild decreased right supraspinatus due to
pain.” Id. Neurovascular upper extremity examination was normal, although petitioner reported
“some decreased sensation on the inner aspect of his thumb.” Id. Assessment was impingement
syndrome and bursitis of right shoulder. Id. Petitioner received a cortisone injection in the
subacromial space in his right shoulder. Id. Dr. Varney stated, “it is unlikely that the flu shot
actually caused any damage to his shoulder. MRIs . . . show[] chronic tendinopathy of
supraspinatus with some tendinitis and bursitis. Also has a downward sloping acromion that
causes rotator cuff impingement. Previous injection may have [] caused some inflammation of
his underlying problems.”14 Id. at 7. Petitioner was advised to continue home exercises and
physical therapy and ice and take anti-inflammatories as needed. Id.


12   Again, it is not clear from the record who petitioner saw during this visit.

13Petitioner and his wife both testified that the handwriting on the form belongs to petitioner’s
wife. Tr. 73, 175.

14Dr. Varney does not define “previous injection.” It appears, however, based on the context of
the note, that Dr. Varney was referring to the flu vaccination.


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      On July 21, 2016, petitioner saw Dr. Thacker who noted petitioner “re-injured right
shoulder after hanging drywall for 4 hours [on] 7/18/16.” Pet. Ex. 6 at 17.

        On August 16, 2016, petitioner returned to Dr. Patel for diabetes mellitus and
hypercholesterolemia. Pet. Ex. 7 at 2. Petitioner did not complain of shoulder pain at this visit.
See id. Physical examination revealed normal range of motion. Id.

        Petitioner saw Dr. Patel on October 4, 2016, complaining of “rash on the arm with itching
backache, numbness in legs. Came for check up on blood sugar. Cough, chest congestion.” Pet.
Ex. 7 at 4. On physical examination, range of motion was normal. Id. Dr. Patel noted petitioner
was seeing Dr. Thacker for right shoulder pain and physical therapy. Id. at 5.

        Petitioner last saw Dr. Thacker on November 4, 2016. Pet. Ex. 6 at 30-32. There is no
indication as to why this was petitioner’s last visit.

        Petitioner complained of diabetes mellitus, hypercholesterolemia, multiple joint pain,
numbness in legs, and a cough during a visit to Dr. Patel on December 7, 2016. Pet. Ex. 7 at 6.
Petitioner did not complain of right shoulder pain during this visit. See id. Range of motion was
normal on physical examination. Id.

        Petitioner saw Dr. Patel next on March 9, 2017. Pet. Ex. 9 at 1-2. No complaints of right
shoulder pain were noted. See id. Physical examination revealed normal range of motion. Id. at
1. “Right elbow region pain” and “normal range of motion” were noted in petitioner’s next visit
to Dr. Patel on June 14, 2017. Id. at 3-4.

       No additional medical records were provided.

III.   PARTIES’ CONTENTIONS

       A.      Petitioner’s Contentions

       Petitioner requests a pain and suffering award of $70,000.00. Pet. Mem. at 11; Pet. Reply
Mem. at 10. Petitioner contends his “injury follows the more typical pattern in SIRVA cases.”
Pet. Mem. at 11.

        Petitioner acknowledges that he first saw his treating chiropractor, Dr. Thacker, 97 days
after vaccination. Pet. Mem. at 10. However, petitioner contends he first contacted his doctor
nine days after vaccination, and “[t]he only reason [p]etitioner was not assessed and treated for
his pain earlier was due to the unavailability of a doctor to see him.” Id. Petitioner argues this
gap in onset and his first visit to a medical provider “is not indicative of the absence of pain and
suffering and emotional distress.” Pet. Reply Mem. at 3.

       Petitioner also disputes respondent’s argument that petitioner’s shoulder and arm pain
was not noted in visits later in 2016. Pet. Reply Mem. at 3. “Given that the shoulder injury was
gradually improving without further acute incident, it is neither remarkable or relevant that Dr.



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Patel did not further reference the injury in later visits.” Id. Petitioner contends his continued
chiropractic visits are more instructive to the question of pain and suffering. Id. Additionally, at
the fact hearing in 2019, petitioner testified he continued to suffer residual effects. Id.

         Citing Johnson, petitioner notes that in the lower end of the spectrum of SIRVA cases,
pain and suffering awards average between $55,000.00 and $75,000.00. Pet. Mem. at 10 (citing
Johnson v. Sec’y of Health & Hum. Servs., No. 18-1486V, 2021 WL 836891, at *5 (Fed. Cl.
Spec. Mstr. Jan. 25, 2021)). Petitioners in those cases delayed seeking treatment, and their pain
and limitations in range of motion remained mild to moderate. Id. (citing Johnson, 2021 WL
836891 at *5). Petitioner also notes mild cases typically resolve after one to two cortisone
injections and two months or less of physical therapy, and pain lasted an average of nine months.
Id. (citing Johnson, 2021 WL 836891 at *5).

        In Johnson, the petitioner suffered significant pain upon vaccination, but overall suffered
a moderate SIRVA injury. Johnson, 2021 WL 836891 at *7. Petitioner took oral steroids,
attended six physical therapy sessions, and received one cortisone injection, after which pain
levels decreased. Id. “By six months after vaccination, [p]etitioner reported only minor
discomfort with certain movements.” Id. Additionally, the special master noted petitioner
“exhibited normal strength, and the reduction in [range of motion] was never significant,” and
petitioner “had an unrelated condition which constituted an additional source of pain.” Id. at *7-
8. Given these facts, the special master awarded petitioner $65,000.00 in pain and suffering. Id.
at *8.

       Along with Johnson, petitioner cited George v. Secretary of Health & Human Services,
No. 18-0426V, 2020 WL 4692451 (Fed. Cl. Spec. Mstr. July 10, 2020) and T.E. v. Secretary of
Health & Human Services, No. 19-0633V, 2021 WL 2935751 (Fed. Cl. Spec. Mstr. May 7,
2021) for support. Pet. Mem. at 11.

        The petitioner in George did not undergo surgery, received one cortisone injection,
attended 40 sessions of physical therapy, and had an “initial course of treatment last[ing]
approximately seven months.” George, 2020 WL 4692451 at *3. An MRI revealed minimal
bursitis and mild tendinopathy of the infraspinatus tendon. Id. at *2. The special master found
“[p]etitioner’s injury was on the ‘mild’ end of the spectrum” and awarded petitioner $67,000.00
in pain and suffering. Id. at *2-3.

       In T.E., petitioner did not undergo surgery, was treated with one cortisone injection,
attended seven sessions of physical therapy, “experienced mild to moderate restrictions in her
range of motion and pain with motion,” and did not seek further evaluation or treatment after six
months post-vaccination. T.E., 2021 WL 2935751 at *4-6. The petitioner received two MRIs
and an ultrasound, which her treating physician found did not show “signs of a high-grade partial
thickness tear.” Id. at *5. The special master found the facts “support[d] a slightly below-
median award” and awarded $70,000.00 in pain and suffering. Id. at *4, *6.

       Lastly, petitioner notes “[r]espondent failed to provide any comparable cases for the
Court’s consideration of damages in this case” and failed to provide “any reference to reasoned
authority” for respondent’s chosen offered amount. Pet. Reply Mem. at 5 (emphasis omitted).



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Petitioner asserts “[r]espondent can offer no analogous case to support the amount proposed,”
while “[p]etitioner’s reference to analogous damages rulings places this case within the broader
context and backdrop of other cases properly adjudicated by this Court.” Id. at 10.

       B.      Respondent’s Contentions

        Respondent argues that based on the facts of this case, petitioner should be awarded
$30,000.00 for pain and suffering. Resp. Br. at 7. Respondent contends the medical records
reflect a “relatively mild SIRVA injury.” Id. First, because petitioner did not see a medical
provider for over three months, “[p]etitioner’s shoulder pain was not severe enough to require
immediate treatment or hospitalization.” Id. Next, respondent asserts petitioner’s treatment was
limited to chiropractic care and one cortisone injection, with treatment occurring within one year.
Id.

         Respondent argues George and T.E. are not factually analogous to petitioner’s case.
Resp. Br. at 8. In George, “petitioner presented to a medical provider three weeks after
vaccination, and an MRI revealed minimal bursitis and mild tendinopathy,” while petitioner here
“waited a little more than three months to seek treatment, and his orthopedist noted . . . [the]
MRI . . . show[ed] chronic tendinopathy of supraspinatus with some tendinitis and bursitis.” Id.
(internal quotations omitted). Respondent, citing Rayborn, notes “a longer delay in seeking
initial treatment suggests petitioner’s pain was manageable and did not require immediate
medical attention.” Id. (citing Rayborn v. Sec’y of Health & Hum. Servs., No. 18-0226V, 2020
WL 5522948, at *12 (Fed. Cl. Spec. Mstr. Aug. 14, 2020) (awarding $55,000.00 for actual pain
and suffering)). Additionally, the petitioner in George attended forty physical therapy sessions,
unlike petitioner here. Id. Regarding T.E., respondent asserts petitioner’s reliance is misplaced
because T.E. “is a conceded case that does not discuss the age of petitioner or the time interval of
her first appointment.” Id.

       Respondent concludes that “under the totality of the circumstances, an award of
$30,000.00 for pain and suffering is just and fair compensation.” Resp. Br. at 8. Respondent
does not cite to any factually analogous cases for support of such award.

IV.    LEGAL FRAMEWORK

        Compensation awarded pursuant to the Vaccine Act shall include “[f]or actual and
projected pain and suffering and emotional distress from the vaccine-related injury, an award not
to exceed $250,000.” § 15(a)(4). Additionally, petitioner may recover “actual unreimbursable
expenses incurred before the date of judgment,” including those that “(i) resulted from the
vaccine-related injury for which petitioner seeks compensation, (ii) were incurred by or on behalf
of the person who suffered such injury, and (iii) were for diagnosis, medical or other remedial
care, rehabilitation . . . determined to be reasonably necessary.” § 15(a)(1)(B). Petitioner bears
the burden of proof with respect to each element of compensation requested. Brewer v. Sec’y of
Health & Hum. Servs., No. 93-0092V, 1996 WL 147722, at *22-23 (Fed. Cl. Spec. Mstr. Mar.
18, 1996).




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        There is no formula for assigning a monetary value to a person’s pain and suffering and
emotional distress. I.D. v. Sec’y of Health & Hum. Servs., No. 04-1593V, 2013 WL 2448125, at
*9 (Fed. Cl. Spec. Mstr. May 14, 2013) (“Awards for emotional distress are inherently subjective
and cannot be determined by using a mathematical formula.”); Stansfield v. Sec’y of Health &
Hum. Servs., No. 93-0172V, 1996 WL 300594, at *3 (Fed. Cl. Spec. Mstr. May 22, 1996)
(“[T]he assessment of pain and suffering is inherently a subjective evaluation.”). Factors to be
considered when determining an award for pain and suffering include: (i) awareness of the
injury; (ii) severity of the injury; and (iii) duration of the suffering. I.D., 2013 WL 2448125, at
*9 (quoting McAllister v. Sec’y of Health & Hum. Servs., No. 91-1037V, 1993 WL 777030, at
*3 (Fed. Cl. Spec. Mstr. Mar. 26, 1993), vacated and remanded on other grounds, 70 F.3d 1240
(Fed. Cir. 1995)).

        The undersigned may look to prior pain and suffering awards to aid in the resolution of
the appropriate amount of compensation for pain and suffering in this case. See, e.g., Doe 34 v.
Sec’y of Health & Hum. Servs., 87 Fed. Cl. 758, 768 (2009) (finding that “there is nothing
improper in the chief special master’s decision to refer to damages for pain and suffering
awarded in other cases as an aid in determining the proper amount of damages in this case”).
The undersigned may also rely on her experience adjudicating similar claims. 15 Hodges v. Sec’y
of Health & Hum. Servs., 9 F.3d 958, 961 (Fed. Cir. 1993) (noting that Congress contemplated
the special masters would use their accumulated expertise in the field of vaccine injuries to judge
the merits of individual claims). Importantly, however, it must also be stressed that pain and
suffering is not determined based on a continuum. See Graves v. Sec’y of Health & Hum.
Servs., 109 Fed. Cl. 579 (2013).

        In Graves, Judge Merrow rejected the special master’s approach of awarding
compensation for pain and suffering based on a spectrum from $0.00 to the statutory
$250,000.00 cap. Judge Merrow noted that this constituted “the forcing of all suffering awards
into a global comparative scale in which the individual petitioner’s suffering is compared to the
most extreme cases and reduced accordingly.” Graves, 109 Fed. Cl. at 589-90. Instead, Judge
Merrow assessed pain and suffering by looking to the record evidence, prior pain and suffering
awards within the Vaccine Program, and a survey of similar injury claims outside of the Vaccine
Program. Id. at 595.




15From July 2014 until September 2015, the SPU was overseen by former Chief Special Master
Vowell. For the next four years, until September 30, 2019, all SPU cases, including the majority
of SIRVA claims, were assigned to the undersigned as the former Chief Special Master, now
Special Master Dorsey. Since that time, SPU cases have been assigned to Chief Special Master
Corcoran.



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       Although this case was removed from the Special Processing Unit (“SPU”) on September
30, 2019, the undersigned finds statistical data from SIRVA cases resolved in SPU to be
informative, as they have an extensive history of informal resolution within the SPU. 16

V.     PRIOR SIRVA COMPENSATION WITHIN SPU

       A.      Data Regarding Compensation in SPU SIRVA Cases

       SIRVA cases have an extensive history of informal resolution within the SPU. As of July
1, 2022, 2,723 SPU SIRVA cases have resolved since the inception of SPU on July 1, 2014.
Compensation was awarded in 2,651 of these cases, with the remaining 72 cases dismissed.

       Of the compensated cases, 1,513 SPU SIRVA cases involved a prior ruling that petitioner
was entitled to compensation. In only 114 of these cases was the amount of damages determined
by a special master in a reasoned decision. These written decisions setting forth such
determinations, prepared by neutral judicial officers (the special masters themselves), provide the
most reliable precedent setting forth what similarly-situated claimants should also receive. 17

        1,371 of this subset of post-entitlement determination, compensation-awarding cases,
were the product of informal settlement—cases via proffer and 28 cases via stipulation.
Although all proposed amounts denote an agreement reached by the parties, those presented by
stipulation derive more from compromise than any formal agreement or acknowledgment by
respondent that the settlement sum itself is a fair measure of damages. Of course, even though
any such informally-resolved case must still be approved by a special master, these
determinations do not provide the same judicial guidance or insight obtained from a reasoned
decision. But given the aggregate number of such cases, these determinations nevertheless
“provide some evidence of the kinds of awards received overall in comparable cases.” Sakovits
v. Sec’y of Health & Hum. Servs., No. 17-1028V, 2020 WL 3729420, at *4 (Fed. Cl. Spec. Mstr.
June 4, 2020) (emphasis in original).

         The remaining 1,138 compensated SIRVA cases were resolved via stipulated agreement
of the parties without a prior ruling on entitlement. These agreements are often described as
“litigative risk” settlements, and thus represent a reduced percentage of the compensation which
otherwise would be awarded. Due to the complexity of these settlement discussions, many


16Prior decisions awarding damages, including those resolved by settlement or proffer, are made
public and can be searched on the U.S. Court of Federal Claims’ website by keyword and/or by
special master. On the Court’s main page, click on “Opinions/Orders” to access the database.
All figures included in this Decision are derived from a review of the decisions awarding
damages within SPU. All decisions reviewed are, or will be, available publicly. All figures and
calculations cited are approximations.

17See, e.g., Sakovits v. Sec’y of Health & Hum. Servs., No. 17-1028V, 2020 WL 3729420, at *4
(Fed. Cl. Spec. Mstr. June 4, 2020) (discussing the difference between cases in which damages
are agreed upon by the parties and cases in which damages are determined by a special master).


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which involve multiple competing factors, these awards do not constitute a reliable gauge of the
appropriate amount of compensation to be awarded in other SPU SIRVA cases.

     The data for all groups described above reflect the expected differences in outcome,
summarized as follows:

                        Damages          Proffered           Stipulated         Stipulated 18
                      Decisions by       Damages             Damages            Agreement
                     Special Master
     Total Cases          114               1,371                28                 1,138
       Lowest          $40,757.91         $25,000.00         $45,000.00           $5,000.00
     1 Quartile
      st               $72,354.81         $67,472.00         $90,000.00          $40,000.00
       Median         $102,479.12         $86,927.85        $122,886.42          $60,000.00
     3 Quartile
      rd              $125,343.45        $115,000.00        $161,001.79         $115,000.00
       Largest        $265,034.87       $1,845,047.00      $1,500,000.00        $550,000.00

         B.        Pain and Suffering Awards in Reasoned Decisions

        In the 114 SPU SIRVA cases which required a reasoned damages decision, compensation
for a petitioner’s actual or past pain and suffering varied from $40,000.00 to $210,000.00, with
$100,000.00 as the median amount. Only five of these cases involved an award for future pain
and suffering, with yearly awards ranging from $250.00 to $1,500.00. 19

        In cases with lower awards for past pain and suffering, many petitioners commonly
demonstrated only mild to moderate levels of pain throughout their injury course. This lack of
significant pain is often evidenced by a delay in seeking treatment—over six months in one case.
In cases with more significant initial pain, petitioners experienced this greater pain for three
months or less. All petitioners displayed only mild to moderate limitations in range of motion,
and MRI imaging showed evidence of mild to moderate pathologies such as tendinosis, bursitis,
or edema. Many petitioners suffered from unrelated conditions to which a portion of their pain
and suffering could be attributed. These SIRVAs usually resolved after one to two cortisone
injections and two months or less of physical therapy. None required surgery. The duration of
the injury ranged from six to 30 months, with most petitioners averaging approximately nine
months of pain. Although some petitioners asserted residual pain, the prognosis in these cases
was positive. Only one petitioner provided evidence of an ongoing SIRVA, and it was expected
to resolve within the subsequent year.



18Two awards were for an annuity only, the exact amounts which were not determined at the
time of judgment.

 Additionally, a first-year future pain and suffering award of $10,000.00 was made in one case.
19

Dhanoa v. Sec’y of Health & Hum. Servs., No. 15-1011V, 2018 WL 1221922 (Fed. Cl. Spec.
Mstr. Feb. 1, 2018).


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        Cases with higher awards for past pain and suffering involved petitioners who suffered
more significant levels of pain and SIRVAs of longer duration. Most of these petitioners
subjectively rated their pain within the upper half of a ten-point pain scale and sought treatment
of their SIRVAs more immediately, often within 30 days of vaccination. All experienced
moderate to severe limitations in range of motion. MRI imaging showed more significant
findings, with the majority showing evidence of partial tearing. Surgery or significant
conservative treatment, up to 133 physical therapy sessions over a duration of more than three
years and multiple cortisone injections, was required in these cases. In four cases, petitioners
provided sufficient evidence of permanent injuries to warrant yearly compensation for future or
projected pain and suffering.

VI.    APPROPRIATE COMPENSATION IN THIS SIRVA CASE

       A.      Actual Pain and Suffering

        In this case, awareness of the injury is not in dispute. The record reflects that at all times
petitioner was a competent adult with no impairments that would impact his awareness of his
injury. Therefore, the undersigned’s analysis will focus principally on the severity and duration
of petitioner’s injury.

        When performing this analysis, the undersigned reviews the record as a whole, including
the medical records, affidavits, testimony, and any expert opinions. The undersigned also takes
into account prior awards for pain and suffering in both SPU and non-SPU SIRVA cases, as well
as her experience adjudicating these cases. The undersigned bases her decision as to the
appropriate amount of damages on the particular facts and circumstances of this specific case.

        The medical records establish that petitioner first sought treatment on February 16, 2016,
97 days after his vaccination on November 11, 2015. Respondent argues that this delay in
seeking treatment is evidence that “[p]etitioner’s shoulder pain was not severe enough to require
immediate treatment or hospitalization.” Resp. Br. at 7. However, the medical records and
testimony at the fact hearing show petitioner had reasonable reasons for his delay in seeking
treatment. For example, petitioner tried to see his primary care physician, Dr. Patel, but he was
unavailable because he was out of the country. Additionally, petitioner tried to find another
doctor, but as petitioner’s wife explained, “they couldn’t get him in because . . . they wanted a
referral or where it was the holidays and stuff, they wanted it two or three months down the
road.” Tr. 185. Thus, under these circumstances, the undersigned finds that petitioner has a
reasonable explanation for his three-month delay in receiving medical treatment, and that this
factor alone cannot be used to discount the severity of petitioner’s pain during that time.

        A review of the records reveals petitioner’s pain is described as significant from
November 11, 2015, the date of vaccination, to April 2016, after petitioner received a cortisone
injection. Beginning on the night of November 11, 2015, the date of vaccination, petitioner
experienced aching and stiffness, and the pain woke him up during the night. A day or two later,
he developed stabbing pain.




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       On February 16, 2016, petitioner saw chiropractor, Dr. Thacker for “severe upper
thoracic/right shoulder/arm/elbow thumb pain” that “started after receiving a flu shot in
November 2015.” Pet. Ex. 5 at 3. Petitioner reported “pain daily 4/5 times a day [and] made
worse with certain movements. Pain ranges from 2-8/10 on a pain scale.” Id. Pain was
described as “achy, burning, dull, sharp, stiff, throbbing,” and moderate. Id. Physical
examination revealed “severe [guarding] of the neck and right shoulder” and decreased range of
motion. Id.

       From February 18, 2016 to November 4, 2016, petitioner visited chiropractor Dr. Thacker
27 additional times for physical therapy. At the February 24, 2016 visit, Dr. Thacker noted
“progression not optimal.” Pet. Ex. 5 at 13.

        An MRI of petitioner’s right shoulder was conducted on March 1, 2016, and the
impression was “[s]omewhat inferiorly projecting acromion process with mild increased signal
intensity changes in the subacromial bursa could represent impingement syndrome or from
bursitis. Study otherwise is negative for rotator cuff tear.” Pet. Ex. 3 at 2.

         Dr. Thacker’s examinations in March and April 2016 “show[ed] minimal to no
improvement in [petitioner’s] subjective or objective complaints/findings.” Pet. Ex. 5 at 24, 48.
On April 7, 2016, Dr. Thacker wrote, “[p]atient progress not showing expected results. Patient
still suffering from severe pain when certain motions are sought . . . .” Id. at 2. Dr. Thacker
discussed a referral to an orthopedist for an injection.

        On April 11, 2016, at a visit to Dr. Patel, petitioner complained of “right shoulder pain
with restricted shoulder movement.” Pet. Ex. 4 at 38. Physical examination revealed right
shoulder tenderness with marked restricted movements.

        On April 18, 2016, petitioner saw orthopedist Dr. Varney, where petitioner reported “the
symptoms have been chronic non-traumatic,” occur intermittently, and “began . . . after flu shot.”
Pet. Ex. 2 at 3. He described the pain as “piercing” and “stabbing,” indicated his “symptoms are
aggravated by daily activities and reaching overhead,” and noted the pain “randomly” goes from
2/10 to 8/10. Id. at 3, 11-12. At the time of the visit, petitioner reported his symptoms were
moderate and his pain was a 2/10. Dr. Varney administered a cortisone injection. Dr. Varney
stated “MRIs . . . show[] chronic tendinopathy of supraspinatus with some tendinitis and bursitis.
Also has a downward sloping acromion that causes rotator cuff impingement.” Id. at 7.

      After the cortisone injection, petitioner continued to see Dr. Thacker until November
2016. Medical records filed after November 2016 do not document complaints of shoulder pain
and physical examinations reveal normal range of motion.

       In summary, the evidence establishes that petitioner had significant pain for
approximately five months, from his vaccination in November 2015 to his cortisone injection in
April 2016. Petitioner’s period of treatment totals approximately one year, until November
2016. During this year, petitioner visited a chiropractor for physical therapy 28 times, underwent
one MRI study, and received one cortisone injection. The undersigned finds petitioner’s visits to
and treatment by a chiropractor is similar to that of a physical therapist. Petitioner’s medical



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records show that his physician instructed petitioner to continue physical therapy with Dr.
Thacker or referred to petitioner’s visits with Dr. Thacker as physical therapy. See Pet. Ex. 2 at
7; Pet. Ex. 4 at 39; Pet. Ex. 7 at 5.

        The undersigned has reviewed the cases cited by petitioner to support his position on the
appropriate amount for an award of actual pain and suffering. The undersigned finds this case is
similar to Johnson and George.

        The petitioner in Johnson took oral steroids, attended six physical therapy sessions, and
received one cortisone injection, after which her pain levels decreased. Johnson, 2021 WL
836891 at *7. Similarly, petitioner here received one cortisone injection around five months
after vaccination; however, petitioner here visited a chiropractor a total of 28 times, which is 22
more visits than the petitioner in Johnson. The Johnson petitioner also “reported only minor
discomfort with certain movements” six months post-vaccination, while petitioner in this case
continued to see a chiropractor until around one year post-vaccination. Id. Because of the
petitioner’s additional visits to a chiropractor and extended treatment period, the undersigned
finds an award greater than the Johnson petitioner received ($65,000.00) is appropriate.

       The petitioner in George, like petitioner here, did not undergo surgery and received one
cortisone injection. George, 2020 WL 4692451 at *3. The petitioner in George attended more
physical therapy sessions (40 total, 12 more than petitioner here); however, the “initial course of
treatment lasted approximately seven months” in George, while petitioner’s lasted one year. Id.
Additionally, an MRI in George revealed minimal bursitis and mild tendinopathy of the
infraspinatus tendon, and petitioner’s MRI revealed “chronic tendinopathy of supraspinatus with
some tendinitis and bursitis.” Id. at *2; Pet. Ex. 2 at 7. Given the longer treatment period and
MRI differences, the undersigned finds an award greater than George ($67,000.00) appropriate.

       Based on a review of the entire record and consideration of the facts and circumstances
presented here, as well as the cases cited by the parties, the undersigned awards $70,000.00 in
compensation for petitioner’s pain and suffering. Petitioner does not seek compensation for
future pain and suffering, and the evidence does not support such damages.

       B.      Award for Past Unreimbursed Expenses

        Petitioner’s past unreimbursable medical expenses are uncontested. Both parties agree
petitioner’s past unreimbursable medical expenses equals $1,971.85, and thus, the undersigned
finds petitioner is entitled to receive an award of $1,971.85 for past unreimbursable medical
expenses.

VII.   CONCLUSION

        In determining an award in this case, the undersigned does not rely on a single decision
or case. Rather, the undersigned has reviewed the particular facts and circumstances in this case,
giving due consideration to the circumstances and damages in other cases cited by the parties and
other relevant cases, as well as her knowledge and experience adjudicating similar cases.




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       For all the reasons discussed above, the undersigned awards the following compensation:

       A lump sum payment of $71,971.85, representing $70,000.00 for petitioner’s actual
       pain and suffering and $1,971.85 for related out-of-pocket medical expenses, in the
       form of a check payable to petitioner, Larry Wolford.

       This amount represents compensation for all damages available under § 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this Decision. 20

       IT IS SO ORDERED.

                                                    s/Nora Beth Dorsey
                                                    Nora Beth Dorsey
                                                    Special Master




20Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing
of notice renouncing the right to seek review.


                                               16
